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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                          CR-11-57-GF-BMM

                         Plaintiff,
     vs.                                                  ORDER

 VERNON MARSHALL JAMES
 YOUNG,
                        Defendant.


      Defendant Vernon Marshall James Young has moved for early termination

of his current term of supervised release. (Doc. 314.) The Government opposes the

motion. (Doc. 316.) The Court conducted a hearing on the motion on June 5, 2018.

For the reasons below, the Court will grant Young’s motion.

      Young was charged with Assault Resulting in Serious Bodily Injury, in

violation of 18 U.S.C. § 1153(a), 18 U.S.C. § 113(a)(6), and 18 U.S.C. § 2, and

Assault with a Dangerous Weapon, in violation of 18 U.S.C. § 1153(a), 18 U.S.C.

§ 113(a)(3), and 18 U.S.C. § 2. (Docs. 1; 93.) A jury convicted Young of Simple

Assault as a lesser included offense of Assault Resulting in Serious Bodily Injury,

and of Assault with a Dangerous Weapon on January 5, 2012. (Doc. 128.) The

Court sentenced Young to a total of 51 months of imprisonment, with 36 months of

supervised release to follow. (Doc. 199 at 2-3.)
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      Young commenced his first term of supervised release on September 16,

2015. (Doc. 263 at 1.) The Court revoked Young’s supervised release on July 22,

2016, for committing four violations of his conditions of supervision: (1) failure to

participate in substance abuse testing; (2) use of a controlled substance; (3) failure

to pay restitution; and (4) failure to pay the special assessment. (Doc. 272 at 1.)

The Court sentenced Young to fifteen days of imprisonment, followed by 35

months of supervised release. Id. at 2-3. Young’s current term of supervised

release began on July 22, 2016. (Doc. 274 at 1.)

      Young’s initial term of supervised release would have concluded on

September 16, 2018. Young served approximately 10 months of the initial term

before his July 22, 2016 revocation. Young’s current term of supervised release

will conclude on June 22, 2019. Young has served over 22 months of his current

term of supervised release.

      Federal law authorizes a defendant to move for early termination of his term

of supervised release after successfully completing one year if the Court is satisfied

that such action remains “warranted by the conduct of the defendant” and serves

“the interest of justice.” 18 U.S.C. § 3583(e)(1). The Court must consider the

factors in 18 U.S.C. § 3553(a) when evaluating whether to terminate a term of

supervised release. 18 U.S.C. § 3583(e).


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      Mr. Young addressed the Court in a letter filed in support of his motion for

early termination. (Doc. 315-1 at 8.) Mr. Young notes that his first year of release

“was a little rough,” but highlights his employment history, his completion of

substance abuse treatment, and the positive support that he has received from his

past and current probation officers. Id. Mr. Young believes he has successfully

reintegrated himself into his community. Id.

      Mr. Young has filed six additional letters in support of his motion for early

termination, from: (1) Mr. Young’s grandmother-in-law, Mary Komeatis; (2) Laura

Luna, Mr. Young’s mother-in-law; (3) Priscilla Koop, Mr. Young’s wife; (4) John

Mitchell, Mr. Young’s supervisor at the Chippewa Cree Commodity Warehouse;

(5) Ursula Russette, Assistant Director of Chippewa Cree Housing Authority; and

(6) Suzanne F. Lockwood, a Nurse Practitioner in Psychiatry at Bullhook

Community Health Center. (Doc. 315-1 at 1-6.) Mr. Young also provided a

Certificate of Completion from the White Sky Hope Center. Id. at 7. The letters

laud Mr. Young’s maturation, dependability, responsibility, honesty, decision-

making, and parenting skills. These attachments provide substantial support for the

claims made in Mr. Young’s own letters.

      The Court notes that Mr. Young’s conduct has resulted in two Reports of

Offender Under Supervision and one Petition to Revoke. (Docs. 242; 263; 274.)

The final Report of Offender Under Supervision occurred on September 29, 2016,


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within the current term of supervised release. (Doc. 274.) The September 29, 2016,

Report alleged that Young had committed two violations of the conditions of his

supervised release. (Doc. 274 at 2.) The first violation alleged that Mr. Young

submitted to sweat patch testing that revealed the presence of marijuana on July 26,

2016. Id. The second violation alleged that the defendant changed his place of

residence without notifying the United States Probation Office. Id.

      Given Young’s apparent compliance since the September 29, 2016, report,

however, the Court deems it appropriate to shorten–but not immediately

terminate–Mr. Young’s term of supervised release. Absent any further violations,

Mr. Young’s supervised release will expire on the date that his originally-imposed

term of supervised release would have expired: September 16, 2018. Though he

experienced an admittedly “rough” transition, the Court commends Mr. Young for

choosing to comply with the conditions of his federal supervision for nearly two

years since his lone revocation. The originally-imposed term of three years of

supervised release adequately serves the interests of justice.



       Accordingly, IT IS ORDERED:

      1.     Defendant’s Motion for Early Termination of Supervised Release

(Doc. 314) is GRANTED.

      2.     Provided that Mr. Young commits no additional violations of the


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conditions of his supervision, his term of supervised release will expire on

September 16, 2018.



      DATED this 5th day of June, 2018.




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